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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                Filed: September 24, 2019

* * * * * * * * * * * * * *
JANET CLAWSON,             *
                           *
     Petitioner,           *                          No. 17-191V
                           *                          Special Master Oler
v.                         *
                           *                          Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
            Respondent.    *
* * * * * * * * * * * * * *
Randall G. Knutson, Knutson & Casey Law Firm, Mankato, MN, for Petitioner.
Alexis B. Babcock, United States Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

        On February 9, 2017, Janet Clawson (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012). Petitioner alleged that she suffered a shoulder injury related to vaccine administration
(“SIRVA”), including “shoulder pain, weakness and lack of range of motion” in her left arm as a
result of receiving an influenza (“flu”) vaccination on October 14, 2014. See Petition, ECF No. 1.
On May 22, 2019, the parties filed a stipulation, which the undersigned adopted as her decision
awarding compensation on the same day. Decision, ECF No. 38.

         On June 20, 2019, Petitioner filed an application for final attorneys’ fees and costs. ECF

1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims'
website. This means the ruling will be available to anyone with access to the Internet. In
accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical
or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, the undersigned agrees that the identified material fits within this
definition, the undersigned will redact such material from public access. Because this unpublished
ruling contains a reasoned explanation for the action in this case, the undersigned is required to
post it on the United States Court of Federal Claims' website in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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No. 42 (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of
$35,830.71, representing $34,589.00 in attorneys’ fees and $1,241.71 in attorneys’ costs. Fees
App. at 1. Pursuant to General Order No. 9, Petitioner states that she has not incurred any costs
related to this litigation. Fees App. Ex. 5. Respondent responded to the motion on June 20, 2019,
stating that “Respondent is satisfied the statutory requirements for an award of attorneys’ fees and
costs are met in this case” and requesting that the undersigned “exercise her discretion and
determine a reasonable award for attorneys’ fees and costs.” Resp’t’s Resp. at 2-3, ECF No. 42.
Petitioner did not file a reply thereafter.

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

        Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008). Here, because Petitioner was awarded compensation, she is
entitled to an award of attorneys’ fees and costs.

        It is “well within the special master's discretion” to determine the reasonableness of fees.
Saxton v. Sec'y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec'y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys' fees and
costs.”). Applications for attorneys' fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum v. Stenson, 465 U.S. 886, 895 (1984). The “prevailing market rate”
is akin to the rate “in the community for similar services by lawyers of reasonably comparable
skill, experience and reputation.” Id. at 895, n.11. The petitioner bears the burden of providing
adequate evidence to prove that the requested hourly rate is reasonable. Id.

       a. Reasonable Hourly Rates

       Petitioner requests that her attorney, Mr. Randall Knutson, be compensated at $365.00 per
hour for all work performed in this case, from 2014 to 2019. The undersigned finds the requested
rate to be reasonable for 2017 onward. However, this rate exceeds what Mr. Knutson has
previously been awarded for his Vaccine Program work prior to 2017. See Rehn v. Sec’y of Health
& Human Servs., No. 14-1012V, 2015 WL 9412813, at *6 (Fed. Cl. Spec. Mstr. Dec. 1, 2015)
(awarding Mr. Knutson $295.00 per hour for work in 2014 and 2015); Lasnetski v. Sec’y of Health
& Human Servs., No. 14-580V, 2017 WL 2610525, at *3 (Fed. Cl. Spec. Mstr. May 16, 2017)
(Mr. Knutson requesting $295.00 per hour for work in 2016 and being awarded the same).
Accordingly, for work performed in 2014-2016, the undersigned shall compensate Mr. Knutson at


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$295.00 per hour. The billing records indicate Mr. Knutson performed 23.5 hours of work in this
time frame. Fees App. Ex. 2 at 1-4. This results in a reduction of $1,645.00 from the final award
of attorneys’ fees.3

       Similarly, Petitioner requests that all paralegal work be compensated at $130.00 per hour.
Like Mr. Knutson’s requested rate, this exceeds what has previously been awarded for Knutson &
Casey Law Firm paralegal work ($75.00 per hour). The billing records indicate that 15.3 hours of
paralegal work was performed from 2014-2016. Fees App. Ex. 2 at 22-23. This results in a
reduction of $841.50.4

         b. Reasonable Hours Expended

         Attorneys' fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). Additionally, it is well-established that billing for
administrative/clerical tasks is not permitted in the Vaccine Program. Rochester v. United States,
18 Cl. Ct. 379, 387 (1989); Arranga v. Sec’y of Health & Human Servs., No. 02-1616V, 2018 WL
2224959, at *3 (Fed. Cl. Spec. Mstr. Apr. 12, 2018).

        Upon review, the undersigned finds the overall hours billed to be reasonable. Counsel has
provided sufficiently detailed descriptions for the tasks performed, and, upon review, the
undersigned does not find any of the billing entries to be unreasonable. Respondent also did not
indicate that he finds any of the billing entries to be unreasonable. Accordingly, Petitioner is
entitled to final attorneys’ fees in the amount of $32,102.50.

         c. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,241.71 in attorneys’ costs. This amount is comprised of acquiring medical records,
postage, and the Court’s filing fee. Fees App. Ex. 2 at 26-28. These costs are all typical of Vaccine
Program litigation and petitioner has provided adequate documentation supporting the requested
costs. Accordingly, Petitioner is entitled to the full amount of costs sought.

II.      Conclusion

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and
costs, other than the reductions delineated above, is reasonable. Based on the above analysis, the
undersigned finds that it is reasonable to compensate Petitioner and his counsel as follows:

    Attorneys’ Fees Requested                                        $34,589.00
3
    ($365.00 per hour requested - $295.00 per hour awarded) * 23.5 hours = $1,645.00
4
    ($130.00 per hour requested - $75.00 per hour awarded) * 15.3 hours- $841.50.
                                                 3
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    (Reduction to Fees)                                             - ($2,486.50)
    Total Attorneys’ Fees Awarded                                    $32,102.50

    Attorneys’ Costs Requested                                       $1,241.71
    (Reduction of Costs)                                                 -
    Total Attorneys’ Costs Awarded                                   $1,241.71

    Total Amount Awarded                                             $33,344.21

       Accordingly, the undersigned awards a lump sum in the amount of $33,344.21,
representing reimbursement for reasonable attorneys’ fees and costs, in the form of a check
payable jointly to Petitioner and Petitioner’s counsel of record, Mr. Randal Knutson.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.5

         IT IS SO ORDERED.

                                              s/Katherine E. Oler
                                              Katherine E. Oler
                                              Special Master




5
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).
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